Case 1:17-cr-00154-MAC-ZJH Document 104 Filed 01/18/18 Page 1 of 1 PageID #: 248




                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  § CASE NUMBER 1:17-CR-00154-MAC
                                                  §
        v.                                        §
                                                  §
                                                  §
 JASON WRIGHT (8)                                 §
                                                  §


                  ORDER APPOINTING COUNSEL PURSUANT TO THE
                            CRIMINAL JUSTICE ACT


        This Court has determined that the above-named Defendant is financially unable to

 obtain adequate representation in the above-styled case, and is otherwise qualified for

 appointment of counsel. Accordingly, pursuant to the Criminal Justice Act (18 U.S.C. §3006A),

 this Court appoints Dustin Galmor, a member of the Criminal Justice Act Panel of this District to

 represent this Defendant.

        IT IS SO ORDERED.

        Signed January 18, 2018.



                                                     ___________________________________
                                                     ZACK HAWTHORN
                                                     UNITED STATES MAGISTRATE JUDGE
